                                                                                    11-cv-3743(LGS)
                     Case
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                                       UNITED STATES COURT OF APPEALS              DOCUMENT
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                                                                                   DOC #:   _________________
                                                SECOND CIRCUIT
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               At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
      the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
      the 17th day of December, two thousand twenty,

      ____________________________________

      Donna Kassman, Individually and on behalf of a class of                       ORDER
      similarly-situated female employees, Sparkle Patterson,                       Docket No. 20-3126
      individually and on behalf of a class of similarly situated
      female employees, Jeanette Potter, individually and on behalf
      of a class of similarly situated female employees, Tina Butler,
      Heather Inman, Ashwini Vasudeva, individually and on behalf
      of a class of similarly situated female employees, Cheryl Charity,
      Nancy Jones, Carol Murray,

      lllllllllllllllllllllPlaintiffs - Appellants,

      Linda O'Donnell, individually and on behalf of a class of similarly
      situated female employees, Jessica Lake,

      lllllllllllllllllllllPlaintiffs,

      v.

      KPMG, LLP,

      lllllllllllllllllllllDefendant - Appellee,

      Douglas R Hart,

      lllllllllllllllllllllDefendant.
      _______________________________________

             The parties in the above-referenced case have filed a stipulation withdrawing this appeal
      pursuant to Local Rule 42.1.

                The stipulation is hereby "So Ordered".


                                                                For The Court:
                                                                Catherine O'Hagan Wolfe,
                                                                Clerk of Court




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